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                    EXHIBIT 1
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11                                 UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
13

14    JAMES MILSTEAD, et al., on behalf of           Case No. 4:21-cv-06338-JST
      themselves and all others similar situated,
15                                                   CHRIS CARUSO’S RESPONSES AND
                         Plaintiffs,                 OBJECTIONS TO DEFENDANT GENERAL
16                                                   MOTORS LLC’S SUBPOENA TO PRODUCE
      v.                                             DOCUMENTS, INFORMATION, OR
17                                                   OBJECTS
     General Motors LLC et al.,
18                                                   Hon. Jon S. Tigar
                         Defendants.
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                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1                                    PRELIMINARY STATEMENT

 2            Chris Caruso, in accordance with Rules 26, 34, and 45 of the Federal Rules of Civil

 3    Procedure, and the Local Rules of the United States District Court for the Northern District of

 4    California, makes these Responses and Objections to Defendant General Motors LLC’s (“GM”)

 5    Subpoena to Produce Documents, Information, or Objects dated January 17, 2025 (“Requests”).

 6    Caruso reserves the right to later modify, supplement, or amend these objections and responses as

 7    additional information becomes available or if information is inadvertently omitted or mistakenly

 8    stated herein. These responses should not be construed as, and do not constitute, a waiver of

 9    Caruso’s right to provide additional facts during other phases of litigation.

10            Caruso objects to each Request to the extent it seeks documents and information protected

11    by the attorney-client privilege or work-product doctrine or by California and federal privacy law.

12    Caruso does not agree to search for or produce documents subject to these protections and

13    intends, where appropriate, to withhold documents on this basis.

14            Caruso responds to each Request is solely in his capacity as a percipient fact witness in

15    this Litigation.

16                                      OBJECTIONS TO DEFINITIONS

17            Caruso sets forth the following objections to GM’s definitions, which Caruso incorporates

18    by reference into his specific objections to each Request, as applicable to the defined terms used

19    in those Requests, and as set forth below.

20            1.         Caruso objects to Definition No. 1 (“communication”) and to Definition No. 4

21    (“document”) to the extent they seek information protected from disclosure by the attorney-client

22    privilege, the work-product doctrine, or any other applicable privilege, protection, immunity, or

23    doctrine of similar effect, including protections for financial and business records under

24    California and federal privacy law.

25            2.         Caruso object to Definition No. 3 (“Delco Electronics”) to the extent “other

26    persons acting, or purporting to act, on behalf of the preceding entities” is vague and ambiguous,

27    Caruso will construe such “other persons” to include individuals, employees, agents, and

28    representatives that he knew or believed to be acting on behalf of those entities.
                                                      -2-
                                   CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                      SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1           3. Caruso objects to Definition No. 4 (“document”) to the extent it imposes any

 2    obligation on Caruso that is beyond the scope of the Federal Rules of Civil Procedure. Caruso

 3    will construe the term “document” consistent with Federal Rule of Civil Procedure 34.

 4           4. Caruso objects to Definition No. 12 (“SDM”) as overbroad and unduly burdensome in

 5    that “any type of airbag control unit,” includes SDMs and associated algorithms and calibrations

 6    which are not the subject of this Litigation.

 7           5. Caruso objects to Definition No. 14 (“You” and “Your”) as vague, overbroad, and as

 8    seeking to extend these Requests beyond the subject of this Subpoena. Caruso also objects to the

 9    extent “any agents, representatives or other acting on Your behalf” seeks information protected

10    from disclosure by the attorney-client privilege, the work-product doctrine, or any other

11    applicable privilege, protection, immunity, or doctrine. Caruso will interpret “You” and “Your” to

12    mean himself.

13           6. Caruso objects to GM’s use of the terms “regarding” and “related to” in the Requests

14    as vague and ambiguous insofar as GM fails to define these potentially expansive terms.

15                                  OBJECTIONS TO INSTRUCTIONS

16           Caruso incorporates the following objections to the “Instructions” section of the Requests

17    into each objection set forth below to each specific Request. Any specific objection made by

18    Caruso in no respect limits or modifies the objections to the “Instructions” section of the Requests

19    stated herein.

20           1. Caruso objects to the Instructions to the extent they differ in any material respect from

21    his obligations under the Federal Rules of Civil Procedure, including Rules 34 and 45; Caruso

22    will provide responses consistent with the Federal Rules of Civil Procedure.

23                OBJECTIONS AND RESPONSES TO DOCUMENTS REQUESTED

24    REQUEST NO. 1:

25           All documents and communications relating to the allegations in Plaintiffs’ Complaint that

26    “Old GM overrode serious concerns from a team from Delco Electronics (later called Delphi

27    Electronics, now known as Aptiv), including engineering manager, Chris Caruso” regarding the

28    Subject Vehicles, including but not limited to allegations that “Caruso and a team of software
                                                      -3-
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    engineers from Delco . . . expressly warned Old GM in or about 1999 that using its strategy to

 2    prematurely cut off the potential for airbag and seatbelt deployment during a crash event was a

 3    reckless and dangerous design decision.”

 4    RESPONSE TO REQUEST NO. 1:

 5           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 6    and Objections to Instructions as if expressly set forth herein.

 7           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

 8    which GM has equal or greater access and which are more convenient, less burdensome, or less

 9    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

10    Request to the extent it seeks the production of expert or expert consulting materials in other

11    cases that are or may be covered by a protective order or other applicable privilege or protection.

12    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

13    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

14    also calls for documents, communications, or other materials protected from discovery under

15    Rule 26(b)(4).

16           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

17    of non-protected (a) documents and communications that reflect information that he acquired as a

18    percipient fact witness with respect to the SDM Calibration Defect,1 and (b) documents and

19    communications from his work in prior litigations that reflect factual information about the SDM

20    Calibration Defect.

21    REQUEST NO. 2:

22           All documents and communications relating to the allegations in Plaintiffs’ Complaint that

23    “a separate team in charge of the design and development for GM cars rejected GM Trucks’

24    approach [to SDM calibrations] after hearing (and heeding) the Delco team’s concerns about the

25    earlier [SDM calibration] cut off.”

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       “SDM Calibration Defect” shall have the same meaning as defined in Plaintiffs’ Second
      Amended Class Action Complaint.             -4-
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    RESPONSE TO REQUEST NO. 2:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this request as unduly burdensome insofar as it seeks documents to

 5    which GM has equal or greater access and which are more convenient, less burdensome, or less

 6    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

 7    Request to the extent it seeks the production of expert or expert consulting materials in other

 8    cases that are or may be covered by a protective order or other applicable privilege or protection.

 9    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

10    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

11    also calls for documents, communications, or other materials protected from discovery under

12    Rule 26(b)(4).

13           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

14    of non-protected (a) documents and communications that reflect information that he acquired as a

15    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

16    communications from his work in prior litigations that reflect factual information about the SDM

17    Calibration Defect.

18    REQUEST NO. 3:

19           All documents and communications relating to the design, development, and validation of

20    the SDM calibrations in the Subject Vehicles, including but not limited to the SDM software

21    program known as ALGO-S.

22    RESPONSE TO REQUEST NO. 3:

23           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

24    and Objections to Instructions as if expressly set forth herein.

25           Caruso objects to this Request as unduly burdensome to the extent it is duplicative of

26    Request No. 1. Caruso also objects to this Request as unduly burdensome insofar as it seeks

27    documents to which GM has equal or greater access and which are more convenient, less

28    burdensome, or less costly to obtain from sources other than Caruso, such as Aptiv. Caruso
                                                     -5-
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    further objects to this Request to the extent it seeks the production of expert or expert consulting

 2    materials in other cases that are or may be covered by a protective order or other applicable

 3    privilege or protection. Finally, Caruso objects to this Request to the extent it calls for premature

 4    or otherwise improper production of expert disclosures, which are governed by the case schedule

 5    and Rule 26(a)(2), and also calls for documents, communications, or other materials protected

 6    from discovery under Rule 26(b)(4).

 7           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

 8    of non-protected (a) documents and communications that reflect information that he acquired as a

 9    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

10    communications from his work in prior litigations that reflect factual information about the SDM

11    Calibration Defect.

12    REQUEST NO. 4:

13           All Production Definition Documents (“PDD”), Software Definition Documents (“SDD”),

14    Algorithm Definition Documents (“ADD”), frontal impact calibration summaries, and frontal

15    impact calibration parameter settings for the Subject Vehicles.

16    RESPONSE TO REQUEST NO. 4:

17           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

18    and Objections to Instructions as if expressly set forth herein.

19           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

20    which GM has equal or greater access and which are more convenient, less burdensome, or less

21    costly to obtain from sources other than Caruso, such as Aptiv.

22           Subject to these objections, after a diligent search, Caruso states that he does not have any

23    documents responsive to this Request in his possession, custody, or control.

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                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    REQUEST NO. 5:

 2           All documents and communications relating to or describing the event progression timer

 3    (“EP-1 timer”) utilized in the Subject Vehicles and the rationale for selecting a given EP-1 timer

 4    value for those vehicles.

 5    RESPONSE TO REQUEST NO. 5:

 6           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 7    and Objections to Instructions as if expressly set forth herein.

 8           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

 9    which GM has equal or greater access and which are more convenient, less burdensome, or less

10    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

11    Request to the extent it seeks the production of expert or expert consulting materials in other

12    cases that are or may be covered by a protective order or other applicable privilege or protection.

13    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

14    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

15    also calls for documents, communications, or other materials protected from discovery under

16    Rule 26(b)(4).

17           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

18    of non-protected (a) documents and communications that reflect information that he acquired as a

19    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

20    communications from his work in prior litigations that reflect factual information about the SDM

21    Calibration Defect.

22    REQUEST NO. 6:

23           All documents and communications relating to the design, development, and validation of

24    the SDMs used in the Subject Vehicles, including but not limited to the SDM-GS, SDM-11,

25    SDM-30, and SDM-DS.

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                                                        -7-
                                  CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                     SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    RESPONSE TO REQUEST NO. 6:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

 5    which GM has equal or greater access and which are more convenient, less burdensome, or less

 6    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

 7    Request to the extent it seeks the production of expert or expert consulting materials in other

 8    cases that are or may be covered by a protective order or other applicable privilege or protection.

 9    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

10    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

11    also calls for documents, communications, or other materials protected from discovery under

12    Rule 26(b)(4).

13           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

14    of non-protected (a) documents and communications that reflect information that he acquired as a

15    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

16    communications from his work in prior litigations that reflect factual information about the SDM

17    Calibration Defect.

18    REQUEST NO. 7:

19           All documents and communications relating to any concerns or warnings expressed by

20    You or Delco Electronics to Old GM or GM regarding the SDM calibrations in the Subject

21    Vehicles.

22    RESPONSE TO REQUEST NO. 7:

23           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

24    and Objections to Instructions as if expressly set forth herein.

25           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

26    which GM has equal or greater access and which are more convenient, less burdensome, or less

27    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

28    Request to the extent it seeks the production of expert or expert consulting materials in other
                                                      -8-
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    cases that are or may be covered by a protective order or other applicable privilege or protection.

 2    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

 3    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

 4    also calls for documents, communications, or other materials protected from discovery under

 5    Rule 26(b)(4).

 6           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

 7    of non-protected (a) documents and communications that reflect information that he acquired as a

 8    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

 9    communications from his work in prior litigations that reflect factual information about the SDM

10    Calibration Defect.

11    REQUEST NO. 8:

12           All documents and communications relating to design considerations for the SDM

13    calibrations in the Subject Vehicles.

14    RESPONSE TO REQUEST NO. 8:

15           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

16    and Objections to Instructions as if expressly set forth herein.

17           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

18    which GM has equal or greater access and which are more convenient, less burdensome, or less

19    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

20    Request to the extent it seeks the production of expert or expert consulting materials in other

21    cases that are or may be covered by a protective order or other applicable privilege or protection.

22    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

23    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

24    also calls for documents, communications, or other materials protected from discovery under

25    Rule 26(b)(4).

26           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

27    of non-protected (a) documents and communications that reflect information that he acquired as a

28    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and
                                                     -9-
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    communications from his work in prior litigations that reflect factual information about the SDM

 2    Calibration Defect.

 3    REQUEST NO. 9:

 4           All documents identifying the SDMs and SDM calibrations used in the Subject Vehicles.

 5    RESPONSE TO REQUEST NO. 9:

 6           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 7    and Objections to Instructions as if expressly set forth herein.

 8           Caruso also objects to this Request as unduly burdensome insofar as it seeks documents to

 9    which GM has equal or greater access and which are more convenient, less burdensome, or less

10    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

11    Request to the extent it seeks the production of expert or expert consulting materials in other

12    cases that are or may be covered by a protective order or other applicable privilege or protection.

13    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

14    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

15    also calls for documents, communications, or other materials protected from discovery under

16    Rule 26(b)(4).

17           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

18    of non-protected (a) documents that reflect information that he acquired as a percipient fact

19    witness with respect to the SDM Calibration Defect, and (b) documents from his work in prior

20    litigations that reflect factual information about the SDM Calibration Defect.

21    REQUEST NO. 10:

22           All documents and communications exchanged between You and Plaintiffs, Plaintiffs’

23    Counsel, and/or any other person or entity regarding this Litigation.

24    RESPONSE TO REQUEST NO. 10:

25           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

26    and Objections to Instructions as if expressly set forth herein.

27           Caruso objects to this Request to the extent “All documents and communications” seeks

28    information protected from disclosure by the attorney-client privilege, the work-product doctrine,
                                                    - 10 -
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    or any other applicable privilege, protection, immunity, or doctrine of similar effect. Caruso also

 2    objects to this Request to the extent it seeks information protected from disclosure by the

 3    attorney-client privilege, the work-product doctrine, or any other applicable privilege, protection,

 4    immunity, or doctrine of similar effect. Caruso also objects to this Request to the extent it seeks

 5    the production of expert or expert consulting materials in other cases that are or may be covered

 6    by a protective order or other applicable privilege or protection. Caruso further objects to this

 7    Request to the extent it calls for premature or otherwise improper production of expert

 8    disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

 9    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

10           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

11    of non-protected (a) documents and communications that reflect information that he acquired as a

12    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

13    communications from his work in prior litigations that reflect factual information about the SDM

14    Calibration Defect.

15    REQUEST NO. 11:

16           All documents regarding your work in the McCoy v. General Motors case, including but

17    not limited to any reports or declarations you submitted and any attachments thereto.

18    RESPONSE TO REQUEST NO. 11:

19           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

20    and Objections to Instructions as if expressly set forth herein.

21           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

22    documents regarding your work” seeks information that is neither relevant to any claim or

23    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to this

24    Request to the extent it seeks the production of expert or expert consulting materials in other

25    cases that are or may be covered by a protective order or other applicable privilege or protection.

26    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

27    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

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                                                       - 11 -
                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    also calls for documents, communications, or other materials protected from discovery under

 2    Rule 26(b)(4).

 3           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

 4    of non-protected documents from his work in the McCoy v. General Motors case that reflect

 5    factual information about the SDM Calibration Defect, including any reports or declarations

 6    submitted.

 7    REQUEST NO. 12:

 8           Documents sufficient to identify the “numerous failure to deploy cases where the root

 9    cause was determined to be the 45 ms SHUTOFF criteria” referenced in Your May 26, 2022

10    Forensic Report in the McCoy v. General Motors case.

11    RESPONSE TO REQUEST NO. 12:

12           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

13    and Objections to Instructions as if expressly set forth herein.

14           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

15    which GM has equal or greater access and which are more convenient, less burdensome, or less

16    costly to obtain from sources other than Caruso, such as Aptiv. Caruso also objects to this

17    Request to the extent it seeks the production of expert or expert consulting materials in other

18    cases that are or may be covered by a protective order or other applicable privilege or protection.

19           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

20    of non-protected documents to identify other failure to deploy cases where the root cause was

21    determined to be the 45 ms SHUTOFF criteria as referenced in his May 26, 2022 Forensic Report

22    in the McCoy v. General Motors case.

23    REQUEST NO. 13:

24           All documents supporting Your contention in Your May 26, 2022 Forensic Report in the

25    McCoy v. General Motors case that “modify[ing] the algorithm calibrations [in the 2018 GMC

26    Sierra HD Frontal impact Safety System] with more robust 120-150ms ep_end_threshold values”

27    was “[t]he safer alternative design.”

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                                                      - 12 -
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    RESPONSE TO REQUEST NO. 13:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this Request as unduly burdensome insofar as it seeks documents to

 5    which GM has equal or greater access and which are more convenient, less burdensome, or less

 6    costly to obtain from sources other than Caruso, including Aptiv. Caruso also objects to this

 7    Request to the extent it seeks the production of expert or expert consulting materials in other

 8    cases that are or may be covered by a protective order or other applicable privilege or protection.

 9           Subject to these objections, in his capacity as a percipient fact witness in this Litigation,

10    Caruso will conduct a reasonable search for and will produce copies of responsive, non-privileged

11    documents and communications to the extent such documents exist.

12    REQUEST NO. 14:

13           All documents regarding your work in the Nossar v. General Motors case, including but

14    not limited to any reports or declarations You submitted and any attachments thereto.

15    RESPONSE TO REQUEST NO. 14:

16           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

17    and Objections to Instructions as if expressly set forth herein.

18           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

19    documents regarding your work” seeks information that is neither relevant to any claim or

20    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to this

21    Request as unduly burdensome insofar as it seeks documents to which GM has equal or greater

22    access and which are more convenient, less burdensome, or less costly to obtain from sources

23    other than Caruso. Caruso further objects to this Request to the extent it seeks information

24    protected from disclosure by the attorney-client privilege, the work-product doctrine, or any other

25    applicable privilege, protection, immunity, or doctrine of similar effect. Finally, Caruso objects to

26    this Request to the extent it seeks the production of expert or expert consulting materials in other

27    cases that are or may be covered by a protective order or other applicable privilege or protection.

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                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

 2    of non-protected documents from his work in the Nossar v. General Motors case that reflect

 3    factual information about the SDM Calibration Defect, including any reports or declarations

 4    submitted.

 5    REQUEST NO. 15:

 6           All documents regarding your work in the Vaith v. General Motors case, including but not

 7    limited to any reports or declarations You submitted and any attachments thereto.

 8    RESPONSE TO REQUEST NO. 15:

 9           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

10    and Objections to Instructions as if expressly set forth herein.

11           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

12    documents regarding your work” seeks information that is neither relevant to any claim or

13    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to this

14    Request as unduly burdensome insofar as it seeks documents to which GM has equal or greater

15    access and which are more convenient, less burdensome, or less costly to obtain from sources

16    other than Caruso. Caruso further objects to this Request to the extent it seeks information

17    protected from disclosure by the attorney-client privilege, the work-product doctrine, or any other

18    applicable privilege, protection, immunity, or doctrine of similar effect. Finally, Caruso objects to

19    this Request to the extent it seeks the production of expert or expert consulting materials in other

20    cases that are or may be covered by a protective order or other applicable privilege or protection.

21           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

22    of non-protected documents from his work in the Vaith v. General Motors case that reflect factual

23    information about the SDM Calibration Defect, including any reports or declarations submitted.

24    REQUEST NO. 16:

25           All documents and communications relating to any allegations by You that the SDM

26    calibrations in the Subject Vehicles are unsafe.

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                                                       - 14 -
                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    RESPONSE TO REQUEST NO. 16:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects on the grounds that “allegations by You” is vague and ambiguous because

 5    Caruso has not made any “allegations” in this case. Caruso also objects to this Request as unduly

 6    burdensome insofar as it seeks documents to which GM has equal or greater access and which are

 7    more convenient, less burdensome, or less costly to obtain from sources other than Caruso,

 8    including Aptiv. Caruso further objects to this Request to the extent it seeks the production of

 9    expert or expert consulting materials in other cases that are or may be covered by a protective

10    order or other applicable privilege or protection. Finally, Caruso objects to this Request to the

11    extent it calls for premature or otherwise improper production of expert disclosures, which are

12    governed by the case schedule and Rule 26(a)(2), and also calls for documents, communications,

13    or other materials protected from discovery under Rule 26(b)(4).

14           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

15    of non-protected (a) documents that reflect information that he acquired as a percipient fact

16    witness with respect to the SDM Calibration Defect, and (b) documents from his work in prior

17    litigations that reflect factual information about the SDM Calibration Defect.

18    REQUEST NO. 17:

19           All documents and communications relating to any crashes with a purported airbag non-

20    deployment in any Subject Vehicle in which you contend such non-deployment was the result of

21    a defective SDM calibration.

22    RESPONSE TO REQUEST NO. 17:

23           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

24    and Objections to Instructions as if expressly set forth herein.

25           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

26    documents and communications relating to any crashes” seeks information that is neither relevant

27    to any claim or defense in this Litigation, nor proportional to the needs of this case. As written,

28    the Request would include non-frontal crashes that are not the subject of this Litigation. Caruso
                                                   - 15 -
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    also objects to this Request as unduly burdensome insofar as it seeks documents to which GM has

 2    equal or greater access and which are more convenient, less burdensome, or less costly to obtain

 3    from sources other than Caruso, including Aptiv. Caruso also objects to this Request to the extent

 4    it seeks the production of expert or expert consulting materials in other cases that are or may be

 5    covered by a protective order or other applicable privilege or protection. Caruso further objects to

 6    this Request to the extent it calls for premature or otherwise improper production of expert

 7    disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

 8    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

 9           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

10    of non-protected (a) documents and communications that reflect information that he acquired as a

11    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

12    communications from his work in prior litigations that reflect factual information about the SDM

13    Calibration Defect.

14    REQUEST NO. 18:

15           All documents and communications exchanged between You and NHTSA regarding the

16    SDMs or SDM calibrations in the Subject Vehicles.

17    RESPONSE TO REQUEST NO. 18:

18           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

19    and Objections to Instructions as if expressly set forth herein.

20           Subject to these objections, after a diligent search, Caruso states that he does not have any

21    responsive documents in his possession, custody, or control.

22    REQUEST NO. 19:

23           All documents and communications relating to SDM calibrations used in the vehicles of

24    vehicle manufacturers’ other than GM, including but not limited to documents identifying if the

25    vehicles of manufacturers other than GM include airbag calibrations with cutoff times less than

26    100 milliseconds.

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                                                      - 16 -
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    RESPONSE TO REQUEST NO. 19:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

 5    documents and communications” seeks documents and communications that are neither relevant

 6    to any claim or defense in this Litigation, nor proportional to the needs of this case. Caruso also

 7    objects to this Request as unduly burdensome insofar as it seeks documents to which GM has

 8    equal or greater access and which are more convenient, less burdensome, or less costly to obtain

 9    from sources other than Caruso. Caruso further objects to this Request to the extent it seeks the

10    production of expert or expert consulting materials in other cases that are or may be covered by a

11    protective order or other applicable privilege or protection. Finally, Caruso objects to this Request

12    to the extent it calls for premature or otherwise improper production of expert disclosures, which

13    are governed by the case schedule and Rule 26(a)(2).

14           Subject to these objections, after a diligent search, Caruso states that he does not have any

15    responsive documents in his possession, custody, or control.

16    REQUEST NO. 20:

17           All documents and communications regarding any releases or disclaimers between Old

18    GM or GM and Delco Electronics regarding the SDM calibrations in the Subject Vehicles.

19    RESPONSE TO REQUEST NO. 20:

20           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

21    and Objections to Instructions as if expressly set forth herein.

22           Caruso objects to this Request to the extent it seeks the production of expert or expert

23    consulting materials in other cases that are or may be covered by a protective order or other

24    applicable privilege or protection. Caruso also objects to this Request to the extent it calls for

25    premature or otherwise improper production of expert disclosures, which are governed by the

26    case schedule and Rule 26(a)(2), and also calls for documents, communications, or other

27    materials protected from discovery under Rule 26(b)(4).

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                                                       - 17 -
                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

 2    of non-protected (a) documents and communications that reflect information that he acquired as a

 3    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

 4    communications from his work in prior litigations that reflect factual information about the SDM

 5    Calibration Defect.

 6    REQUEST NO. 21:

 7           All documents and communications regarding the time and cost associated with

 8    designing, developing, and validating the SDM calibrations in the Subject Vehicles.

 9    RESPONSE TO REQUEST NO. 21:

10           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

11    and Objections to Instructions as if expressly set forth herein.

12           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

13    documents and communications” seeks documents that are neither relevant to any claim or

14    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to this

15    request as unduly burdensome to the extent that it seeks information that is more readily

16    accessible to or already in the possession of GM. Caruso further objects to this Request to the

17    extent it seeks the production of expert or expert consulting materials in other cases that are or

18    may be covered by a protective order or other applicable privilege or protection. Finally, Caruso

19    objects to this Request to the extent it calls for premature or otherwise improper production of

20    expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

21    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

22           Subject to these objections, after a diligent search, Caruso states that he does not have any

23    non-protected, responsive documents in his possession, custody, or control.

24    REQUEST NO. 22:

25           All documents and communications regarding differences in the SDM calibrations

26    contained in the Subject Vehicles and other GM vehicles, including Old GM cars and GM cars.

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                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    RESPONSE TO REQUEST NO. 22:

 2            Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4            Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

 5    documents and communications” seeks documents that are neither relevant to any claim or

 6    defense in this Litigation, nor proportional to the needs of this case. Caruso further objects to this

 7    Request as unduly burdensome insofar as it seeks documents to which GM has equal or greater

 8    access and which are more convenient, less burdensome, or less costly to obtain from sources

 9    other than Caruso, including Aptiv. Caruso also objects to this Request to the extent the term

10    “differences” is vague and ambiguous. Caruso further objects to this Request to the extent it seeks

11    the production of expert or expert consulting materials in other cases that are or may be covered

12    by a protective order or other applicable privilege or protection. Finally, Caruso objects to this

13    Request to the extent it calls for premature or otherwise improper production of expert

14    disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

15    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

16            Subject to his objections, Caruso will conduct a reasonable search for and produce copies

17    of non-protected (a) documents and communications that reflect information that he acquired as a

18    percipient fact witness with respect to the SDM Calibration Defect, and (b) documents and

19    communications from his work in prior litigations that reflect factual information about the SDM

20    Calibration Defect.

21    REQUEST NO. 23:

22            All engagement letters, contracts, or other documents related to Your work with Plaintiffs

23    in this Litigation.

24    RESPONSE TO REQUEST NO. 23:

25            Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

26    and Objections to Instructions as if expressly set forth herein.

27            Caruso objects to this Request as overbroad and unduly burdensome to the extent “All . . .

28    other documents” seeks information that is neither relevant to any claim or defense in this
                                                    - 19 -
                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    Litigation, nor proportional to the needs of this case. Caruso also objects to this Request to the

 2    extent it seeks information protected from disclosure by the attorney-client privilege, the work-

 3    product doctrine, or any other applicable privilege, protection, immunity, or doctrine of similar

 4    effect. Caruso further objects to this Request to the extent it calls for premature or otherwise

 5    improper production of expert disclosures, which are governed by the case schedule and Rule

 6    26(a)(2), and also calls for documents, communications, or other materials protected from

 7    discovery under Rule 26(b)(4).

 8           Pursuant to these objections, Caruso will not search for or produce any documents in

 9    response to this Request.

10    REQUEST NO. 24:

11           All engagement letters, contracts, or other documents related to Your work in litigations in

12    which you were disclosed as an expert witness by a party represented by Plaintiffs’ Counsel

13    involving allegations of a vehicle defect.

14    RESPONSE TO REQUEST NO. 24:

15           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

16    and Objections to Instructions as if expressly set forth herein.

17           Caruso objects to this Request as overbroad and unduly burdensome to the extent “All

18    engagement letters, contracts, or other documents” seeks information that is neither relevant to

19    any claim or defense in this Litigation, nor proportional to the needs of this case. Caruso also

20    objects to this Request to the extent it seeks information protected from disclosure by the

21    attorney-client privilege, the work-product doctrine, or any other applicable privilege, protection,

22    immunity, or doctrine of similar effect. Caruso further objects to this Request to the extent it

23    seeks the production of expert or expert consulting materials in other cases that are or may be

24    covered by a protective order or other applicable privilege or protection. Finally, Caruso objects

25    to this Request to the extent it calls for premature or otherwise improper production of expert

26    disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

27    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

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                                                        - 20 -
                                  CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1           Pursuant to these objections, Caruso will not search for or produce any documents in

 2    response to this Request.

 3    REQUEST NO. 25:

 4           Documents sufficient to show the number of cases in which You have offered expert

 5    opinions that an Old GM or GM vehicle contained a design defect.

 6    RESPONSE TO REQUEST NO. 25:

 7           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 8    and Objections to Instructions as if expressly set forth herein.

 9           Caruso objects to this Request as overbroad and unduly burdensome to the extent

10    “contained a design defect” seeks documents that are neither relevant to any claim or defense in

11    this Litigation, nor proportional to the needs of this case. For example, as written this Request

12    would require Caruso to search for and produce records associated with “design defect[s]” that

13    are unrelated to occupant restraint systems. Caruso also objects to this Request to the extent it

14    seeks the production of expert or expert consulting materials in other cases that are or may be

15    covered by a protective order or other applicable privilege or protection.

16           Subject to these objections, after a diligent search, Caruso will produce documents

17    showing responsive cases, but states that he does not have any non-protected responsive

18    documents sufficient to show the total number of responsive cases in his possession, custody, or

19    control.

20    REQUEST NO. 26:

21           Documents sufficient to show the number of cases in which You have offered expert

22    opinions that a vehicle that was manufactured by an OEM other than Old GM or GM contained a

23    design defect.

24    RESPONSE TO REQUEST NO. 26:

25           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

26    and Objections to Instructions as if expressly set forth herein.

27           Caruso objects to this Request as overbroad and unduly burdensome to the extent

28    “contained a design defect” seeks documents, without temporal limitation, that are neither
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                                  CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    relevant to any claim or defense in this Litigation, nor proportional to the needs of this case. For

 2    example, as written this Request would require Caruso to search for and produce any records

 3    associated with “design defect[s]” that are unrelated to occupant restraint systems. Caruso also

 4    objects to this Request to the extent it seeks the production of expert or expert consulting

 5    materials in other cases that are or may be covered by a protective order or other applicable

 6    privilege or protection.

 7           Subject to these objections, after a diligent search, Caruso will produce documents

 8    showing responsive cases, but states that he does not have any non-protected responsive

 9    documents sufficient to show the total number of responsive cases in his possession, custody, or

10    control.

11    REQUEST NO. 27:

12           Documents sufficient to show the number and identification of cases in which You

13    evaluated but did not offer opinions regarding a non-deployment of an airbag designed by Old

14    GM or GM.

15    RESPONSE TO REQUEST NO. 27:

16           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

17    and Objections to Instructions as if expressly set forth herein.

18           Caruso objects to the Request to the extent the phrase “evaluated but did not offer

19    opinions” is vague and ambiguous, and overbroad and unduly burdensome to the extent it seeks

20    documents, without temporal limitation, that are neither relevant to any claim or defense in this

21    Litigation, nor proportional to the needs of this case.

22           Subject to these objections, in his capacity as a percipient fact witness in this Litigation,

23    Caruso will conduct a reasonable search for and will produce copies of responsive, non-privileged

24    documents and communications to the extent such documents exist.

25    REQUEST NO. 28:

26           Transcripts from any testimony in depositions or trials in any case which You have

27    offered expert opinions that an Old GM or GM vehicle contained a design defect.

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                                                       - 22 -
                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    RESPONSE TO REQUEST NO. 28:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this Request as overbroad and unduly burdensome to the extent it seeks

 5    documents that are neither relevant to any claim or defense in this Litigation, nor proportional to

 6    the needs of this case. Caruso also objects to this Request to the extent that it seeks information

 7    that is more readily accessible to or already in the possession of GM. Caruso further objects to

 8    this Request to the extent it seeks the production of expert or expert consulting materials in other

 9    cases that are or may be covered by a protective order or other applicable privilege or protection.

10    Finally, Caruso objects to this Request to the extent it calls for premature or otherwise improper

11    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

12    also calls for documents, communications, or other materials protected from discovery under

13    Rule 26(b)(4).

14           Subject to these objections, after a diligent search, Caruso states that he does not have any

15    responsive documents in his possession, custody, or control.

16    REQUEST NO. 29:

17           Transcripts from any testimony in depositions or trials in any case where You have

18    discussed crash sensing strategies for concatenated events.

19    RESPONSE TO REQUEST NO. 29:

20           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

21    and Objections to Instructions as if expressly set forth herein.

22           Caruso objects to this Request to the extent that it seeks information that is more readily

23    accessible to or already in the possession of GM. Caruso also objects to this Request to the extent

24    it seeks the production of expert or expert consulting materials in other cases that are or may be

25    covered by a protective order or other applicable privilege or protection. Caruso further objects to

26    this Request to the extent it calls for premature or otherwise improper production of expert

27    disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

28    documents, communications, or other materials protected from discovery under Rule 26(b)(4).
                                                  - 23 -
                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1           Subject to these objections, after a diligent search, Caruso states that he does not have any

 2    responsive documents in his possession, custody, or control.

 3    REQUEST NO. 30:

 4           Documents sufficient to show income You have received for work in which You offered

 5    expert opinions that an Old GM or GM designed vehicle contains a design defect.

 6    RESPONSE TO REQUEST NO. 30:

 7           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 8    and Objections to Instructions as if expressly set forth herein.

 9           Caruso objects to this Request as overbroad and unduly burdensome to the extent that it

10    includes records, without temporal limitation, that are neither relevant to any claim or defense in

11    this Litigation, nor proportional to the needs of this case. Caruso also objects to this Request to

12    the extent it calls for premature or otherwise improper production of expert disclosures, which are

13    governed by the case schedule and Rule 26(a)(2), and also calls for documents, communications,

14    or other materials protected from discovery under Rule 26(b)(4).

15           Subject to these objections, Caruso will not search for or produce any documents in

16    response to this Request.

17    REQUEST NO. 31:

18           Documents sufficient to show the number of cases in which You have offered expert

19    opinions that any vehicle, including but not limited to an Old GM or GM designed vehicle,

20    contained a design defect.

21    RESPONSE TO REQUEST NO. 31:

22           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

23    and Objections to Instructions as if expressly set forth herein.

24           Caruso objects to this Request as overbroad and unduly burdensome to the extent it seeks

25    information, without temporal limitation, that is neither relevant to any claim or defense in this

26    Litigation, nor proportional to the needs of this case. Caruso also objects to the Request as unduly

27    burdensome in that it is duplicative of Requests No. 25 and No. 26. Caruso further objects to this

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                                                        - 24 -
                                  CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    Request to the extent it seeks the production of expert or expert consulting materials in other

 2    cases that are or may be covered by a protective order or other applicable privilege or protection.

 3           Subject to these objections, after a diligent search, Caruso will produce documents

 4    showing responsive cases, but states that he does not have any non-protected responsive

 5    documents sufficient to show the total number of responsive cases in his possession, custody, or

 6    control.

 7    REQUEST NO. 32:

 8           Documents sufficient to show income You have received for work in which You offered

 9    expert opinions that any vehicle, including but not limited to an Old GM or GM designed vehicle,

10    contained a design defect.

11    RESPONSE TO REQUEST NO. 32:

12           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

13    and Objections to Instructions as if expressly set forth herein.

14           Caruso objects to this Request as overbroad and unduly burdensome to the extent that

15    “Documents sufficient to show income” includes records that are neither relevant to any claim or

16    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to the

17    Request to the extent it includes financial information and other records protected by California

18    and federal privacy laws. Caruso further objects to this Request to the extent it calls for premature

19    or otherwise improper production of expert disclosures, which are governed by the case schedule

20    and Rule 26(a)(2), and also calls for documents, communications, or other materials protected

21    from discovery under Rule 26(b)(4).

22           Pursuant to these objections, Caruso will not search for or produce any documents in

23    response to this Request.

24    REQUEST NO. 33:

25           Documents sufficient to show the number of cases in which You have offered expert

26    opinions on behalf of a party represented by Plaintiffs’ Counsel.

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                                                        - 25 -
                                  CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
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 1    RESPONSE TO REQUEST NO. 33:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this Request to the extent it calls for premature or otherwise improper

 5    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

 6    also calls for documents, communications, or other materials protected from discovery under

 7    Rule 26(b)(4).

 8           Pursuant to these objections, Caruso will not search for or produce any documents in

 9    response to this Request.

10    REQUEST NO. 34:

11           Documents sufficient to show income You have received for work in which You were

12    retained by a party represented by Plaintiffs’ Counsel.

13    RESPONSE TO REQUEST NO. 34:

14           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

15    and Objections to Instructions as if expressly set forth herein.

16           Caruso objects to this Request as overbroad and unduly burdensome to the extent that

17    “Documents sufficient to show income” includes records that are neither relevant to any claim or

18    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to this

19    Request to the extent it calls for premature or otherwise improper production of expert

20    disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

21    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

22           Pursuant to these objections, Caruso will not search for or produce documents in response

23    to this Request.

24    REQUEST NO. 35:

25           Documents sufficient to show income You have received from work in which You were

26    retained to evaluate the performance of a vehicle designed by Old GM or GM.

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                                  CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                     SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1    RESPONSE TO REQUEST NO. 35:

 2           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 3    and Objections to Instructions as if expressly set forth herein.

 4           Caruso objects to this Request as overbroad and unduly burdensome to the extent that

 5    “Documents sufficient to show income” includes records that are neither relevant to any claim or

 6    defense in this Litigation, nor proportional to the needs of this case. Caruso also objects to the

 7    extent “You were retained to evaluate the performance of a vehicle” is vague and ambiguous.

 8    Caruso further objects to this Request to the extent it calls for premature or otherwise improper

 9    production of expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and

10    also calls for documents, communications, or other materials protected from discovery under

11    Rule 26(b)(4).

12           Pursuant to these objections, Caruso will not search for or produce documents in response

13    to this Request.

14    REQUEST NO. 36:

15           Documents sufficient to identify all cases in which You have opined that airbag non-

16    deployment was attributable in whole or in part by a crash sensing algorithm defect.

17    RESPONSE TO REQUEST NO. 36:

18           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

19    and Objections to Instructions as if expressly set forth herein. Caruso also objects to this Request

20    to the extent it seeks the production of expert or expert consulting materials in other cases that are

21    or may be covered by a protective order or other applicable privilege or protection. Caruso further

22    objects to this Request to the extent it calls for premature or otherwise improper production of

23    expert disclosures, which are governed by the case schedule and Rule 26(a)(2), and also calls for

24    documents, communications, or other materials protected from discovery under Rule 26(b)(4).

25           Subject to his objections, Caruso will conduct a reasonable search for and produce copies

26    of non-protected documents from his work in prior litigations that reflect factual information

27    about airbag non-deployments attributable in whole or in part to a crash sensing algorithm defect.

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                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                                                                   CASE NO. 4:21-CV-06338-JST
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 1    REQUEST NO. 37:

 2           All documents and communications related to any financial interest You have to this

 3    Litigation, including but not limited to any payments you have received or expect to receive in

 4    connection to this Litigation or any financial interest You have in the outcome of this Litigation.

 5    RESPONSE TO REQUEST NO. 37:

 6           Caruso incorporates by reference the Preliminary Statement, Objections to Definitions,

 7    and Objections to Instructions as if expressly set forth herein.

 8           Caruso objects to this Request to the extent it seeks information protected from disclosure

 9    by the attorney-client privilege, the work-product doctrine, or any other applicable privilege,

10    protection, immunity, or doctrine of similar effect. Caruso further objects to this Request to the

11    extent it calls for premature or otherwise improper production of expert disclosures, which are

12    governed by the case schedule and Rule 26(a)(2).

13           Subject to these objections, in his capacity as a percipient fact witness in this Litigation,

14    Caruso does not have any responsive, non-protected documents in his possession, custody, or

15    control, as he has no financial interest in the outcome of this Litigation.

16     Dated: March 24, 2025                 Respectfully submitted,
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                                              By: /s/ Roland Tellis
18                                            Roland Tellis (SBN 186269)
                                              David B. Fernandes (SBN 280944)
19                                            Adam M. Tamburelli (SBN 301902)
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24                                            atamburelli@baronbudd.com

25                                            Counsel for Chris Caruso

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                                 CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                    SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
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 1                                     CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that a true and correct copy of the foregoing document was served

 3    on counsel of record for the parties in this action via e-mail on this 24th day of March, 2025.

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 5                                                             /s/ Adam M. Tamburelli

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                                CHRIS CARUSO’S RESPONSES AND OBJECTIONS TO DEFENDANT GENERAL MOTORS LLC’S
                                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                                                                   CASE NO. 4:21-CV-06338-JST
